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                                                      01/11/21 Page 1 of 3




                                                             The Honorable Robert S. Lasnik
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                             UNITED STATES DISTRICT COURT
 7                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 8
     S.L., by and through his parents and
 9   guardians, J.L. and L.L.,                     NO. 2:18-cv-01308-RSL
10                       Plaintiff,
11         v.                                      STIPULATION AND ORDER RE:
                                                   PLAINTIFF’S MOTION TO COMPEL
12   PREMERA BLUE CROSS, AMAZON                    RULE 30(b)(6) DEPOSITION
     CORPORATE LLC GROUP HEALTH
13
     AND WELFARE PLAN, and AMAZON
14   CORPORATE LLC,

15                       Defendants.
16
                                        I.   STIPULATION
17
            The parties, by and through their counsel, stipulate to the following briefing
18
     schedule for Plaintiff’s anticipated Motion to Compel Deposition of Defendant Premera
19
     Blue Cross pursuant to Fed. R. Civ. P. 30(b)(6).
20
            The parties have met and conferred about the proposed deposition and have
21
     been unable to reach an agreement regarding it. The parties agree that this issue is ripe
22
     for determination by the Court according to the following schedule:
23
            Plaintiff’s Motion to Compel shall be filed on or before Friday, February 19, 2021
24
     and noted for consideration on March 26, 2021.
25

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                                                                         SI R I ANNI Y OU T Z
     STIPULATION AND ORDER RE: MOTION TO                        SP OON E MOR E H AMB U R GE R P L L C
     COMPEL RULE 30(b)(6) DEPOSITION - 1                           3101 WESTERN AVENUE, SUITE 350
                                                                      SEATTLE, WASHINGTON 98121
     [Case No. 2:18-cv-01308-RSL]                                TEL. (206) 223-0303 FAX (206) 223-0246
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 1           Defendants’ responsive briefing shall be filed on or before Friday, March 12,

 2   2021.

 3           Plaintiff’s reply briefing shall be filed on or before Friday, March 26, 2021.

 4           IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

 5           DATED: January , 2021.

 6   KILPATRICK TOWNSEND                            SIRIANNI YOUTZ
 7
     & STOCKTON LLP                                 SPOONEMORE HAMBURGER PLLC
       /s/ Gwendolyn C. Payton                         /s/ Eleanor Hamburger
 8
     Gwendolyn C. Payton (WSBA # 26752)             Eleanor Hamburger (WSBA #26478)
 9                                                  Richard E. Spoonemore (WSBA #21833)
     Attorneys for Defendant
10
     Premera Blue Cross
                                                    MEGAN E. GLOR, ATTORNEYS AT LAW
11                                                    /s/ Megan E. Glor
                                                    Megan E. Glor (Admitted Pro Hac Vice)
12
                                                    Attorneys for Plaintiff S.L.
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                                                                            SI R I ANNI Y OU T Z
     STIPULATION AND ORDER RE: MOTION TO                           SP OON E MOR E H AMB U R GE R P L L C
     COMPEL RULE 30(b)(6) DEPOSITION - 2                              3101 WESTERN AVENUE, SUITE 350
                                                                         SEATTLE, WASHINGTON 98121
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 1                                           II. ORDER

 2          Pursuant to the Stipulation by all parties and for good cause shown, IT IS SO

 3   ORDERED that Plaintiff’s Motion to Compel Rule 30(b)(6) Deposition of Premera Blue

 4   Cross shall be considered according to the following schedule:

 5          Plaintiff’s Motion to Compel shall be filed on or before February 19, 2021 and

 6   noted for consideration on March 26, 2021.

 7          Defendants’ responsive briefing shall be filed on or before March 12, 2021.

 8          Plaintiff’s reply briefing shall be filed on or before March 26, 2021.

 9
            DATED this ______            January
                        11th day of _____________________,
                                           ______________, 2021.
10

11

12                                                          ROBERT S. LASNIK
                                                         United States District Judge
13   Presented by:
14   SIRIANNI YOUTZ
     SPOONEMORE HAMBURGER PLLC
15
         /s/ Eleanor Hamburger
16   Eleanor Hamburger (WSBA # 26478)
     Richard E. Spoonemore (WSBA #21833)
17
     MEGAN E. GLOR, ATTORNEYS AT LAW
18
       /s/ Megan E. Glor
19   Megan E. Glor (Admitted Pro Hac Vice)
20   Attorneys for Plaintiff

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                                                                           SI R I ANNI Y OU T Z
     STIPULATION AND ORDER RE: MOTION TO                          SP OON E MOR E H AMB U R GE R P L L C
     COMPEL RULE 30(b)(6) DEPOSITION - 3                             3101 WESTERN AVENUE, SUITE 350
                                                                        SEATTLE, WASHINGTON 98121
     [Case No. 2:18-cv-01308-RSL]                                  TEL. (206) 223-0303 FAX (206) 223-0246
